       Case 1:22-cv-04839-VMC      Document 25     Filed 04/26/23   Page 1 of 2




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA

 Shakira Vance,                                Case No.: 1:22-cv-04839-VMC-
                                               JCF
         Plaintiff,
  v.                                           NOTICE OF SETTLEMENT
                                               AS TO DEFENDANT GRAIN
  Grain Technology, Inc., Experian
                                               TECHNOLOGY, INC.
  Information Solutions, Inc., Equifax
  Information Services LLC, and
  TransUnion, LLC,

         Defendants.
       Plaintiff, by and through undersigned counsel, hereby notifies the Court that

Plaintiff has reached a settlement in the above-referenced matter with Defendant

Grain Technology, Inc. (“Grain Technology”). Plaintiff and Grain Technology are

in the process of finalizing the settlement, whereupon Plaintiff will move for

dismissal with prejudice. Plaintiff anticipates that the settlement and dismissal of

claims against Grain Technology will be finalized within the next sixty (60) days.

Plaintiff’s claims against TransUnion, LLC remain pending.

Dated:        April 26, 2023

                                     /s/ Esther Oise
                                     Esther Oise, Esq. (GA Bar #686342)
                                     Oise Law Group PC
                                     2635 Governors Walk Blvd.
                                     Snellville, GA 30078
                                     Email: eoise.molaw@gmail.com
      Case 1:22-cv-04839-VMC       Document 25     Filed 04/26/23   Page 2 of 2




                                     Telephone: (770) 895-3736
                                     Attorney for Plaintiff


                         CERTIFICATE OF SERVICE

    I hereby certify that on April 26, 2023, I electronically transmitted the foregoing

document to the Clerk’s Office using the ECF system for filing and transmittal of a

Notice of Electronic Filing to all CM/ECF registrants of record in this matter.

      By: /s/ Esther Oise




                                          2
